 Case 19-33855-sgj7 Doc 92 Filed 05/20/20         Entered 05/20/20 11:03:10        Page 1 of 19
         Jerome Albert Grisaffi
Debtor: ______________
Case No. 19-33855



                         FEE APPLICATION COVER SHEET

                                          Joyce W. Lindauer Attorney, PLLC
 Interim / Final Fee Application of: ______________________________________________

           Attorneys for Debtor
 Capacity:____________________________ Time Period:_11/19/2019
                                                     __________to
                                                               ___4/16/2020
                                                                   ______________

 Bankruptcy Petition Filed on: _11/19/2019
                                 _______________

 Date of Entry of Retention Order:_1/10/2020
                                    _________ Status of Case:_Converted
                                                              __________to__Ch.7
                                                                            _________

 Amount Requested: Reductions:

 Fees:             38,998.00
                 $ __________                                  5,665.00
                                    Voluntary fee reductions:$ __________
 Expenses:         2,604.87
                 $ __________       Expense reductions: $ __________
 Other:          $ __________       Total Reductions:           5,665.00
                                                              $ __________
 Total:            41,602.87
                 $ __________

 Draw Down Request:                         Expense Detail:
 Retainer Received:           11,717.00
                            $ __________      Copies - per page cost and total:      .20 / 360.00
                                                                                  $ __________
 Previous Draw Down(s):       0
                            $ __________      Fax - per page cost and total:         .50 / .50
                                                                                  $ __________
                             11,717.00
 Remaining Retainer (now): $ __________       Computer Research: (Pacer)               5.20
                                                                                  $ __________
 Requested Draw Down:        11,717.00
                           $ __________       Other:                              $ __________
                                                          See detailed
                               0
 Retainer Remaining (after): $ __________     Other:                              $ __________
                                                          exhibit

 Hourly Rates             Attorney/Accountant              Paralegal/Clerical
 Highest Billed Rate:       395.00
                          $ _______________                  125.00
                                                           $ ________________
 Total Hours Billed:        91.4
                            _______________                  3,691.82
                                                             ________________
 Blended Rate:              301.91
                          $ _______________                  124.22
                                                           $ ________________
Case 19-33855-sgj7 Doc 92 Filed 05/20/20                  Entered 05/20/20 11:03:10   Page 2 of 19



Joyce W. Lindauer
State Bar No. 21555700
Jeffery M. Veteto
State Bar No. 24098548
Guy H. Holman
State Bar No. 24095171
Joyce W. Lindauer Attorney, PLLC
12720 Hillcrest Road, Suite 625
Dallas, Texas 75230
Telephone: (972) 503-4033
Facsimile: (972) 503-4034
ATTORNEYS FOR DEBTOR

                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

IN RE:                                                §
                                                      §
JEROME ALBERT GRISAFFI,                               §           CASE NO. 19-33855-sgj
                                                      §                Chapter 7
        Debtor.                                       §

              FIRST AND FINAL APPLICATION TO APPROVE PAYMENT
              OF FEES AND EXPENSES OF DEBTOR’S COUNSEL DURING
                               CHAPTER 11 CASE


        NO HEARING WILL BE CONDUCTED HEREON UNLESS A WRITTEN
        RESPONSE IS FILED WITH THE CLERK OF THE UNITED STATES
        BANKRUPTCY COURT AT 1100 COMMERCE STREET, ROOM 1254,
        DALLAS, TEXAS 75242 ON OR BEFORE JUNE 8, 2020, WHICH IS AT
        LEAST 21 DAYS FROM THE DATE OF SERVICE HEREOF.

        ANY RESPONSE SHALL BE IN WRITING AND FILED WITH THE
        CLERK, AND A COPY SHALL BE SERVED UPON COUNSEL FOR THE
        MOVING PARTY PRIOR TO THE DATE AND TIME SET FORTH
        HEREIN. IF A RESPONSE IS FILED A HEARING MAY BE HELD
        WITH NOTICE ONLY TO THE OBJECTING PARTY.

        IF NO HEARING ON SUCH NOTICE OR MOTION IS TIMELY
        REQUESTED, THE RELIEF REQUESTED SHALL BE DEEMED TO BE
        UNOPPOSED, AND THE COURT MAY ENTER AN ORDER GRANTING
        THE RELIEF SOUGHT OR THE NOTICED ACTION MAY BE TAKEN.




First and Final Application to Approve Payment
of Fees and Expenses of Debtor’s Counsel During Chapter 11 Case
Page 1
Case 19-33855-sgj7 Doc 92 Filed 05/20/20                Entered 05/20/20 11:03:10   Page 3 of 19




TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

        COMES NOW, Joyce W. Lindauer Attorney, PLLC, counsel for Debtor in the above-

styled and numbered case and files this First and Final Application to Approve Payment of Fees

and Expenses of Debtor’s Counsel During Chapter 11 Case and in support thereof respectfully

shows the Court the following:

        1.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157(b)(2)(A)

and 1334, and 11 U.S.C. §§ 331 and 330.

        2.      On November 19, 2019 (the “Petition Date”), Debtor commenced this bankruptcy

case (the “Bankruptcy Case”) by filing his voluntary petition for relief under Chapter 11 of

Title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”).

        3.      An order was entered authorizing the employment of Debtor’s counsel.

        4.      An order converting this case to Chapter 7 was entered on April 16, 2020.

        5.      During the pendency of the Chapter 11 proceeding, Counsel provided legal

services to the Debtor and incurred expenses since its employment totaling $41,602.87. The fees

and expenses incurred for the services represent actual, necessary services rendered by Counsel

for the benefit of the Debtor’s estate and his creditors during the Chapter 11 proceeding.

        6.      This Application covers the time period for Joyce W. Lindauer Attorney, PLLC

from November 19, 2019 through April 16, 2020, plus limited time spent in preparation of this

application. A detailed statement of the services performed by Joyce Lindauer and others who

worked with her and for the Debtor and the estate during this period, together with the listing of

persons who devoted time during this period, along with the billing rates of such individuals is

attached hereto and incorporated as Exhibit "A". These statements show the date that services

were rendered, the nature of the services rendered, by whom such services were rendered, and


First and Final Application to Approve Payment
of Fees and Expenses of Debtor’s Counsel During Chapter 11 Case
Page 2
Case 19-33855-sgj7 Doc 92 Filed 05/20/20                Entered 05/20/20 11:03:10   Page 4 of 19




the time required for the performance of such services. During this period of time, Applicant has

rendered professional services and incurred out-of-pocket expenses on behalf of the Debtor and

the estate as follows:

                                       Hours Spent        Fees Billed   Expenses       Total
 Attorneys and Staff                        91.4          $38,998.00    $2,604.87   $41,602.87


This Application seeks approval of all fees for services rendered and reimbursement of expenses

incurred during the periods stated herein. The expenses are also detailed in the exhibits attached

hereto.

          7.    The hourly rates specified in Exhibit “A” are reasonable, considering the nature

of the services performed, and the experience of the persons rendering such service. Rates

charged for expenses are reasonable, with photocopies at $.20 per copy, faxes at $.50 per page,

and personal vehicle mileage at $0.580 per mile for 2019 and $0.575 for 2020, with all other

expenses at their actual costs. Applicant was paid a retainer of $11,717.00 by Ken Dougherty for

the benefit of the Debtor, and of this amount $1,751.34 was paid for filing fees. A voluntary

discount of $5,665.00 was also applied.

                                REQUEST FOR COMPENSATION

          8.    Pursuant to the decisions of the United States Court of Appeals for the Fifth

Circuit in In re First Colonial Corp., 554 F.2d 1291 (5th Cir. 1977), and Johnson v. Georgia

Highway Express, Inc., 488 F.2d 741 (5th Cir. 1974), Applicant requests the Court consider the

following factors in determining the amount of compensation as reasonable for Applicant’s

services in this case.




First and Final Application to Approve Payment
of Fees and Expenses of Debtor’s Counsel During Chapter 11 Case
Page 3
Case 19-33855-sgj7 Doc 92 Filed 05/20/20                Entered 05/20/20 11:03:10   Page 5 of 19




A. Time and Labor Required:

        The Applicant has expended 91.4 hours during the stated period in performing services

for the Debtor and the estate in connection with these proceedings. A significant amount of time

in this case was spent responding to requests for documents and the taking of a deposition. Also,

time was spent working on matters related to the claims being made by creditor Rocky Mountain

Brands. Finally, a significant amount of time was spent in connection with the conversion

hearing since this was done on the papers rather than in person. Counsel would estimate this

added twice as much time to this process and was caused by the movant wanting to move

forward with conversion of the case during the Covid-19 pandemic. While the Debtor and his

counsel agreed to this process it did cause a lot more time to be incurred in drafting documents

for the contested conversion hearing.

B. Novelty and Difficulty of Issues:

        In the case, the work performed by the Applicant included, but was not limited to,

assisting the Debtor in performing his duties, including working on the general administration of

the case, preparing numerous pieces of correspondence, working on motions, defending Debtor

in an adversary proceeding filed by Rocky Mountain High Brands, Inc. and defending Debtor in

the state district court case filed by Rocky Mountain High Brands, Inc. which relates to the

claims in the adversary proceeding.

C. The Requisite Skill to Perform Services Properly:

        Applicant has the skill to complete the required tasks. Applicant is an experienced

bankruptcy attorney. Joyce Lindauer has practiced in the area of bankruptcy law for over thirty-

five years.




First and Final Application to Approve Payment
of Fees and Expenses of Debtor’s Counsel During Chapter 11 Case
Page 4
Case 19-33855-sgj7 Doc 92 Filed 05/20/20                Entered 05/20/20 11:03:10   Page 6 of 19




D. Preclusion from Other Employment:

        Applicant’s work for the estate consumed a significant portion of Applicant’s time, as

more fully described in this Application. The Applicant has been unable to specifically estimate

the amount of business that it has been precluded from accepting because of its involvement in

the case.

E. Customary Fees:

        The Applicant is applying for compensation for fees and expenses that reflect customary

billing rates in matters of this kind. The hourly rates charged for performing services are below

the range of those customarily charged by many other law firms in the Dallas and Fort Worth

metropolitan area and are below the rates being charged by many lawyers practicing bankruptcy

law with far fewer years of experience.

F. Fee Fixed or Contingent:

        The fees for the Applicant’s services were calculated on an hourly basis for actual time

spent on the cases.

G. Time Limitations Imposed by the Client and Other Circumstances:

        There were no significant time limitations imposed in this case.

H. Experience, Reputation and Ability:

        Applicant has worked in the area of bankruptcy law for many years and has extensive

experience in this area. The above analysis and the narrative entries in Exhibit "A" demonstrate

the services rendered by Applicant for the Debtor and the estate for which compensation is

appropriate.

        WHEREFORE, PREMISES CONSIDERED, the Applicant, Joyce W. Lindauer

Attorney, PLLC, respectfully requests this Honorable Court to allow this Application in the sum


First and Final Application to Approve Payment
of Fees and Expenses of Debtor’s Counsel During Chapter 11 Case
Page 5
Case 19-33855-sgj7 Doc 92 Filed 05/20/20                Entered 05/20/20 11:03:10    Page 7 of 19




of $41,602.87 in compensation for professional fees and expenses in connection with these

proceedings during the Chapter 11 proceeding as an allowed administrative claim in this estate

pursuant to 11 U.S.C. § 503(b)(1)(A) and §507(a)(1), less the retainer received and voluntary

discount applied for a net allowance of $24,220.87, and that Applicant have such other and

further relief, in law or equity, to which it may show itself justly entitled.

        Dated: May 20, 2020.

                                                          Respectfully submitted,

                                                            /s/ Joyce W. Lindauer
                                                          Joyce W. Lindauer
                                                          State Bar No. 21555700
                                                          Jeffery M. Veteto
                                                          State Bar No. 24098548
                                                          Guy H. Holman
                                                          State Bar No. 24095171
                                                          Joyce W. Lindauer Attorney, PLLC
                                                          12720 Hillcrest Road, Suite 625
                                                          Dallas, Texas 75230
                                                          Telephone: (972) 503-4033
                                                          Facsimile: (972) 503-4034
                                                          ATTORNEYS FOR DEBTOR




                                    CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on May 20, 2020, a true and correct copy of the
foregoing document was served via United States first class mail, postage prepaid, upon the
parties on the attached service list.

                                                            /s/ Joyce W. Lindauer
                                                          Joyce W. Lindauer




First and Final Application to Approve Payment
of Fees and Expenses of Debtor’s Counsel During Chapter 11 Case
Page 6
Case 19-33855-sgj7 Doc 92 Filed 05/20/20   Entered 05/20/20 11:03:10   Page 8 of 19
Case 19-33855-sgj7 Doc 92 Filed 05/20/20   Entered 05/20/20 11:03:10   Page 9 of 19
                                  Case 19-33855-sgj7 Doc 92 Filed 05/20/20            Entered 05/20/20 11:03:10   Page 10 of 19


EXHIBIT "A"
FEE APPLICATION DATA AND SUMMARIES
5/4/2020

I. GENERAL INFORMATION
Debtor/Client                                                Jerome Albert Grisaffi
Case Number                                                        19-33855-SGJ
District / Division                                              Northern / Dallas
Fee Application Type (interim/final)                                First and Final
Interim Fee Application Number (if applicable)                                  n/a
Date of Retention                                                      11/19/2019
Date of Order Granting Application to Employ                             1/10/2020
Time Period Covered                                       11/19/2019 to 4/16/2020
Applicant                                        Joyce W. Lindauer Attorney, PLLC
Capacity                                                         Debtor's Attorney


II. CASE HISTORY
Date Filed                                                             11/19/2019
Chapter Under Which Case Was Commenced                                 Chapter 11
Date Converted to Chapter 7                                             4/16/2020


III. FEE SUMMARY
Gross Time                                             $38,998.00
Gross Expenses                                          $2,604.87
Subtotal - Gross Fees                                  $41,602.87
 Less Voluntary Fee Reductions                                          $5,665.00
 Less Voluntary Expense Reductions                                          $0.00
 Less Total Fees Allowed to Date                                            $0.00
 Less Total Retainer (if applicable)                                   $11,717.00
 Less Total Holdback (if applicable)                                        $0.00
 Less Other Amount Received by Applicant                                    $0.00
Net Amount Requested                                   $24,220.87


IV. EXPENSE SUMMARY                                     Rate        Charge
Expense Reimbursement                                Actual Cost             $81.30
Faxes - Fee per Page                                   $0.50                 $0.50
Fees, Filing                                         Actual Cost        $1,751.34
Pacer                                                Actual Cost              $5.20
Parking                                              Actual Cost             $30.00
Photocopies - Fee per Page                              $0.20              $360.00
Postage                                              Actual Cost             $83.85
Transcript                                           Actual Cost          $250.00
Vehicle Use - Fee per Mile (2019 IRS rate)             $0.580                $15.08
Vehicle Use - Fee per Mile (2020 IRS rate)             $0.575                $27.60
                                                        Total:           $2,604.87




Attorney Fee Application Data and Summaries
                                                                                                                                  Page 1 of 10
                                Case 19-33855-sgj7 Doc 92 Filed 05/20/20                          Entered 05/20/20 11:03:10                   Page 11 of 19


                                                 Attorney /      Paralegal /
V. AVERAGE HOURLY RATES                         Accountant        Clerical
Highest Rate                                       $395            $125
Lowest Rate                                        $205             $95
Gross Fees Charges                              $27,595.00      $11,403.00
Gross Hours Billed                                 91.4            91.8
Average Rate                                     $301.91          $124.22




VI. PERSONS PROVIDING SERVICE                  Attorney Rate    Non-Attorney
                                                                   Rate
Joyce W. Lindauer         Attorney                 $395
Jeff Veteto               Associate Attorney       $250
Guy Holman                Associate Attorney       $205
Lawrence Boyd             Law Clerk                                $125
Dian Gwinnup              Paralegal                                $125
David Lindauer            Analyst                                   $95



VII. ACTIVITY SUMMARY                                         Time (Hours)
2004 Exam / Deposition                                            26.4
Appeal/Reconsideration                                            4.2
Case Administration                                               16.5
Claim Issues                                                      8.1
Conversion                                                        41.5
Creditors Meeting                                                 2.8
Debtor Interview                                                  2.2
Discovery                                                         22.7
Dismissal (adversary)                                             6.2
Employment Matters                                                1.7
Litigation / Adversary Matters                                    28.2
Monthly Operating Reports                                         2.3
Petition / Initial Filing                                         2.1
Plan and Disclosure Statement                                     10.2
Schedules and Statement of Affairs                                5.9
Status Conference/Report                                          0.2
Stay Issues                                                       1.8
Tax Issues                                                        0.2
                                                       Total:    183.2


VIII. EXPENSE DETAIL
                                                 Quantity          Price       Charge      Discount   Trans Date                   Activity                        Description
                                                            1          $0.50       $0.50                11/19/2019   Facsimile
                                                            1      $1,717.00   $1,717.00                11/19/2019   Filing Fee                  Chapter 11 voluntary petition.
                                                           33          $0.20       $6.60                 12/2/2019   Photocopies
                                                            5          $0.20       $1.00                 12/5/2019   Photocopies
                                                            1         $31.00      $31.00                 12/6/2019   Filing Fee                  Matrix
                                                            1          $3.34       $3.34                 12/6/2019   Filing Fee
                                                           21          $0.20       $4.20                12/10/2019   Photocopies
                                                           21          $0.65      $13.65                12/10/2019   Postage


Attorney Fee Application Data and Summaries
                                                                                                                                                                                  Page 2 of 10
                                Case 19-33855-sgj7 Doc 92 Filed 05/20/20            Entered 05/20/20 11:03:10                     Page 12 of 19


                                                  19     $0.20       $3.80                 12/17/2019   Photocopies
                                                 120     $0.20      $24.00                 12/17/2019   Photocopies
                                                   3     $0.20       $0.60                 12/17/2019   Photocopies
                                                  20     $0.65      $13.00                 12/18/2019   Postage
                                                  26    $0.580      $15.08                 12/27/2019   Vehicle Mileage              Holman
                                                   1     $1.80       $1.80                 12/31/2019   Pacer                        Pacer fees, November-December
                                                  54     $0.20      $10.80                 12/31/2019   Photocopies
                                                   1    $10.00      $10.00                   1/2/2020   Parking                      Holman
                                                  24    $0.575      $13.80                   1/2/2020   Vehicle Mileage              Holman
                                                   1     $0.50       $0.50                   1/3/2020   Postage
                                                   4     $0.20       $0.80                   1/6/2020   Photocopies
                                                 420     $0.20      $84.00                   1/6/2020   Photocopies
                                                   5     $3.02      $15.10                   1/7/2020   Expense Reimbursement        Exhibit binders.
                                                   5     $3.24      $16.20                   1/7/2020   Expense Reimbursement        Index divider tabs.
                                                  30     $0.20       $6.00                   1/7/2020   Photocopies
                                                   6     $0.20       $1.20                   1/8/2020   Photocopies
                                                   3     $0.20       $0.60                   1/9/2020   Photocopies
                                                   4     $0.20       $0.80                   1/9/2020   Photocopies
                                                   1     $6.80       $6.80                   1/9/2020   Postage
                                                   1   $250.00     $250.00                  1/20/2020   Transcript                   IRS transcripts.
                                                   1    $20.00      $20.00                  2/14/2020   Parking                      Holman
                                                  24    $0.575      $13.80                  2/14/2020   Vehicle Mileage              Holman
                                                  16     $0.20       $3.20                  3/17/2020   Photocopies
                                                   1     $7.80       $7.80                  3/18/2020   Postage
                                                   1     $0.50       $0.50                  3/20/2020   Postage
                                                   1    $50.00      $50.00                  3/25/2020   Expense Reimbursement        IRS
                                                  90     $0.20      $18.00                  3/30/2020   Photocopies
                                                   1     $3.40       $3.40                  3/31/2020   Pacer                        Pacer Charges, First Quarter
                                                 466     $0.20      $93.20                   4/8/2020   Photocopies
                                                  46     $0.20       $9.20                   4/8/2020   Photocopies
                                                 168     $0.20      $33.60                   4/8/2020   Photocopies
                                                  40     $0.20       $8.00                   4/8/2020   Photocopies
                                                   6     $1.80      $10.80                   4/8/2020   Postage
                                                  20     $0.50      $10.00                   4/8/2020   Postage
                                                   6     $1.80      $10.80                   4/8/2020   Postage
                                                  20     $0.50      $10.00                   4/8/2020   Postage
                                                 212     $0.20      $42.40                   4/9/2020   Photocopies
                                                  20     $0.20       $4.00                  4/10/2020   Photocopies
                                                  20     $0.20       $4.00                  4/10/2020   Photocopies
Subtotal - Expenses                                              $2,604.87       $0.00


IX. ACTIVITY DETAIL
Timekeeper                  Hours       Rate                     Charge      Discount    Trans Date                  Activity                              Description

                                                                                                                                     Review information received from Client and
                                                                                                                                     prepare petition, creditor matrix and related
                                                                                                                                     documents (1.5); file case (0.3); prepare and
                                                                                                                                     send Notice of Bankruptcy case filing to Counsel
                                                                                                                                     for Rocky Mountain Brands (0.3); prepare and
                                                                                                                                     file suggestion of Bankruptcy for filing in District
Dian Gwinnup                    2.40   $125.00                    $300.00                  11/19/2019 Appeal / Reconsideration       Court case and 5th Court of Appeals case (0.3)
Joyce W. Lindauer               0.20   $395.00                     $79.00                  11/19/2019 Petition - Initial Filing      Work on court filings.
                                                                                                                                     Meet with client re: filing Chapter 11 (1.3), work
Joyce W. Lindauer               1.60   $395.00                    $632.00                  11/19/2019 Petition - Initial Filing      on filings and notices to courts (.3).



Attorney Fee Application Data and Summaries
                                                                                                                                                                               Page 3 of 10
                                Case 19-33855-sgj7 Doc 92 Filed 05/20/20     Entered 05/20/20 11:03:10                 Page 13 of 19


Joyce W. Lindauer               0.10   $395.00                 $39.50              11/20/2019 Case Administration         Work on meeting.

                                                                                                                          Work on Schedules and Statement of Financial
Dian Gwinnup                    0.60   $125.00                 $75.00               12/2/2019 Schedules & SoFA            Affairs and forward to Client for review
                                                                                                                          Revise Schedules and forward to Client for
Dian Gwinnup                    0.30   $125.00                 $37.50               12/3/2019 Schedules & SoFA            review
                                                                                                                          Prepare and file Motion to Extend Deadline to file
Dian Gwinnup                    0.30   $125.00                 $37.50               12/3/2019 Schedules & SoFA            Schedules and related documents

Joyce W. Lindauer               0.60   $395.00                $237.00               12/4/2019 Deposition / 2004 Exam      Work on 2004 Exam (0.3); work on Lift Stay (.3)
Larry Boyd                      0.60   $125.00                 $75.00               12/5/2019 Discovery                   Developed RFP Checklist
                                                                                                                          Prepare and file suggestion of Bankruptcy for
Dian Gwinnup                    0.40   $125.00                 $50.00               12/5/2019 Litigation Activities       filing in Rockwall County Lawsuit
Joyce W. Lindauer               0.50   $395.00                $197.50               12/6/2019 Case Administration         Meet with Jerry Grisaffi re: pending matters.
                                                                                                                          Attended meeting with Client and followed up
                                                                                                                          with recording of his response to Rocky Mountain
Larry Boyd                      2.60   $125.00                $325.00    $175.00    12/6/2019 Discovery                   High RFP for documents.
                                                                                                                          Revise and file Schedules, Statement of
                                                                                                                          Financial Affairs, Amended list of 20 largest
                                                                                                                          unsecured creditors, amended matrix, and
Dian Gwinnup                    1.20   $125.00                $150.00               12/6/2019 Schedules & SoFA            declaration regarding same
                                                                                                                          Copied and rearranged production for RFP;
Larry Boyd                      6.50   $125.00                $812.50    $437.50    12/9/2019 Discovery                   drafted RFP response to items 1-46.
                                                                                                                          Serve 341 Notice (0.3); prepare and file
Dian Gwinnup                    0.50   $125.00                 $62.50              12/10/2019 Creditors Meeting           Certificate of Service regarding same (0.2)

                                                                                                                          Created 6 Exhibit Binders containing Exhibits A-
                                                                                                                          J; copied and inserted documents into Exhibit
                                                                                                                          binders; drafted Response to Motion for 2004
Larry Boyd                      8.70   $125.00               $1,087.50   $587.50   12/10/2019 Deposition / 2004 Exam      Examination; drafted Response to RFD.
                                                                                                                          Work on schedules and statement of financial
Joyce W. Lindauer               0.50   $395.00                $197.50              12/10/2019 Schedules & SoFA            affairs.

                                                                                                                          Redrafted part of Motion for 2004 Examination;
                                                                                                                          Split the Objection and Response into 2 separate
Larry Boyd                      2.70   $125.00                $337.50              12/11/2019 Deposition / 2004 Exam      responses and added Certs for Service
                                                                                                                          Email with client and submit Statement regarding
Dian Gwinnup                    0.20   $125.00                 $25.00              12/11/2019 Employment Activities       employee income records
                                                                                                                          Email to Joyce Lindauer regarding production
                                                                                                                          needed from Client to permit filing of Response
Larry Boyd                      0.30   $125.00                 $37.50              12/12/2019 Deposition / 2004 Exam      to RFP
                                                                                                                          Emailed Client to inform him of needed document
Larry Boyd                      0.20   $125.00                 $25.00              12/13/2019 Deposition / 2004 Exam      production
                                                                                                                          Met with Client to receive follow up documents
                                                                                                                          for ROG/RFPs; Modified RFP with information
Larry Boyd                      1.00   $125.00                $125.00              12/16/2019 Discovery                   provided by Client
                                                                                                                          Modified RFP with information provided by Client;
                                                                                                                          retrieved copy of RMHB State Court Judgment to
Larry Boyd                      0.60   $125.00                 $75.00              12/17/2019 Discovery                   include as exhibit
                                                                                                                          Prepare Application to Employ Counsel,
                                                                                                                          affidavits in support, and order granting same
Dian Gwinnup                    1.00   $125.00                $125.00              12/17/2019 Employment Activities       (0.6); file and serve same (0.4)
                                                                                                                          Organize responsive documents and insert into
Larry Boyd                      1.60   $125.00                $200.00              12/18/2019 Litigation Activities       exhibit binders




Attorney Fee Application Data and Summaries
                                                                                                                                                                  Page 4 of 10
                                Case 19-33855-sgj7 Doc 92 Filed 05/20/20     Entered 05/20/20 11:03:10                    Page 14 of 19


                                                                                                                              Review, revise and file Objection to Motion for
                                                                                                                              2004 Examination and request for Production of
Dian Gwinnup                    0.70   $125.00                 $87.50              12/20/2019 Deposition / 2004 Exam          Documents
                                                                                                                              Re-drafted RFP Responses to remove
Larry Boyd                      3.30   $125.00                $412.50    $225.00   12/20/2019 Litigation Activities           Objections, renumbered / reordered exhibits
                                                                                                                              Telephone conversation with Client and bank
                                                                                                                              representative regarding opening DIP account
                                                                                                                              (0.1); email with Client regarding attendance at
Dian Gwinnup                    0.20   $125.00                 $25.00              12/26/2019 Debtor Interview                Initial Debtor Interview (0.1)
Guy Holman                      2.00   $205.00                $410.00              12/27/2019 Debtor Interview                Initial Debtor's Interview - 1100 Commerce
Joyce W. Lindauer               2.00   $395.00                $790.00              12/30/2019 Creditors Meeting               Attend 341 meeting
                                                                                                                              Forward proof of insurance, 2018 tax return,
Dian Gwinnup                    0.20   $125.00                 $25.00              12/30/2019 Case Administration             updated bank designation form to US Trustee
                                                                                                                              Work on Schedules and Statement of Financial
Joyce W. Lindauer               0.30   $395.00                $118.50              12/30/2019   Schedules & SoFA              Affairs amendments
Joyce W. Lindauer               0.20   $395.00                 $79.00              12/31/2019   Claim Issues and Objections   Look at derivative claims and action
Joyce W. Lindauer               1.00   $395.00                $395.00              12/31/2019   Claim Issues and Objections   Meet regarding claims
Guy Holman                      1.60   $205.00                $328.00              12/31/2019   Deposition / 2004 Exam        2004 Exam Preparation; 2004 Exam Prep
Jeff Veteto                     0.20   $250.00                 $50.00              12/31/2019   Litigation Activities         Pull case information on lawsuit
                                                                                                                              Work on amendments to Schedules and
Joyce W. Lindauer               0.30   $395.00                $118.50              12/31/2019   Schedules & SoFA              Documents Production
Joyce W. Lindauer               0.20   $395.00                 $79.00              12/31/2019   Schedules & SoFA              Work on lawsuit against David Seeberger
Joyce W. Lindauer               0.50   $395.00                $197.50                1/2/2020   Discovery                     Work on document production
Joyce W. Lindauer               0.30   $395.00                $118.50                1/2/2020   Discovery                     Work on Subpoena for documents

Joyce W. Lindauer               0.30   $395.00                $118.50                1/2/2020 Plan and Disclosure Statement   Work on Disclosures and Schedule Amendments
Guy Holman                      1.80   $205.00                $369.00                1/2/2020 Stay Issues                     Hearing Lift Stay @ 1100 Commerce
                                                                                                                              Prepare and file witness and exhibit list for
Dian Gwinnup                    0.30   $125.00                 $37.50                1/3/2020 Deposition / 2004 Exam          January 8 hearing
                                                                                                                              Work on revisions to statement of Financial
Dian Gwinnup                    0.30   $125.00                 $37.50                1/3/2020 Schedules & SoFA                Affairs
                                                                                                                              Prepare and file witness and exhibit list for
Dian Gwinnup                    0.30   $125.00                 $37.50                1/6/2020 Case Administration             January 9 hearing
Dian Gwinnup                    0.30   $125.00                 $37.50                1/6/2020 Deposition / 2004 Exam          Gather exhibits for January 8 hearing
                                                                                                                              Incorporate new responses/ production into RFP;
                                                                                                                              created new exhibits; reordered Exhibit numbers
Guy Holman                      5.10   $205.00               $1,045.50   $533.00     1/6/2020 Discovery                       and reproduced the RFP response.
Joyce W. Lindauer               0.30   $395.00                 $118.50               1/7/2020 Deposition / 2004 Exam          Prepare for 2004 hearing
                                                                                                                              Prepared; Bates Stamped; scanned all exhibits
                                                                                                                              and created Drop Box folder for them; modified
Guy Holman                      4.50   $205.00                $922.50    $307.50     1/7/2020 Discovery                       RFP response.

                                                                                                                              Prepare and file Certificate of No Objection
                                                                                                                              regarding Application to Employ Joyce Lindauer
Dian Gwinnup                    0.30   $125.00                 $37.50                1/7/2020 Employment Activities           and upload proposed order granting same
                                                                                                                              Revise Schedules and Statement of Financial
Dian Gwinnup                    1.00   $125.00                $125.00                1/7/2020 Schedules & SoFA                Affairs
                                                                                                                              Telcon with Joyce Lindauer and Opposing
                                                                                                                              Counsel regarding content of Exhibits and
                                                                                                                              missing content (0.3); Telcon to Client to request
                                                                                                                              bank statements; drafted subpoena to bank for
                                                                                                                              such statements; transmitted to Joyce Lindauer
Guy Holman                      2.40   $205.00                $492.00                1/8/2020 Case Administration             for signature (2.1)
                                                                                                                              Work on 2004 request (.3), agreed order
Joyce W. Lindauer               1.60   $395.00                $632.00                1/8/2020 Deposition / 2004 Exam          regarding same (1.3).



Attorney Fee Application Data and Summaries
                                                                                                                                                                      Page 5 of 10
                                Case 19-33855-sgj7 Doc 92 Filed 05/20/20     Entered 05/20/20 11:03:10                  Page 15 of 19


Joyce W. Lindauer               0.30   $395.00                $118.50               1/8/2020 Deposition / 2004 Exam            Attend hearing on 2004 exam order.
                                                                                                                               Finalize and file Amended Schedules A/B, C, G,
                                                                                                                               Amended Statement of Financial Affairs,
                                                                                                                               Amended Attorney Compensation Disclosure,
Dian Gwinnup                    0.30   $125.00                 $37.50               1/8/2020   Schedules & SoFA                and Declaration regarding same
Joyce W. Lindauer               0.30   $395.00                $118.50               1/8/2020   Schedules & SoFA                Work on amending schedules and SOFA.
Dian Gwinnup                    0.40   $125.00                 $50.00               1/9/2020   Case Administration             Revise and serve subpoena to Comerica Bank
Joyce W. Lindauer               0.20   $395.00                 $79.00               1/9/2020   Employment Activities           Work on employment.
                                                                                                                               Modified subpoena and transmission to Dian
Guy Holman                      0.10   $205.00                 $20.50               1/9/2020 Litigation Activities             Gwinnup for filing
                                                                                                                               Received Agreed Motion for Reinstatement of
                                                                                                                               State Court Action Abated by 5th District Court of
Guy Holman                      0.20   $205.00                 $41.00              1/10/2020 Appeal / Reconsideration          Appeals
                                                                                                                               Review and revise Objections and responses to
                                                                                                                               Rocky Mountain High Brand's requests for
                                                                                                                               production, including cursory review of
                                                                                                                               documents being produced (1.8); finalize for
Jeff Veteto                     2.00   $250.00                $500.00              1/13/2020 Claim Issues and Objections       service (0.2)
                                                                                                                               Finalize Objections and Responses to request for
Dian Gwinnup                    0.30   $125.00                 $37.50              1/13/2020   Discovery                       production and serve same via DropBox
Joyce W. Lindauer               0.20   $395.00                 $79.00              1/13/2020   Discovery                       Work on delivery of document
Joyce W. Lindauer               0.50   $395.00                $197.50              1/13/2020   Discovery                       Work on document production
Dian Gwinnup                    0.20   $125.00                 $25.00              1/22/2020   MOR & Other Operating Reports   File Operating Report for December 2019
                                                                                                                               Review of December 2019 operating report and
Dian Gwinnup                    0.80   $125.00                $100.00              1/23/2020 MOR & Other Operating Reports     email to Client regarding corrections needed
                                                                                                                               File operating report for November -December
Dian Gwinnup                    0.20   $125.00                 $25.00              1/26/2020   MOR & Other Operating Reports   2019
Joyce W. Lindauer               0.20   $395.00                 $79.00               2/4/2020   Tax Issues                      Work on tax return issues.
Larry Boyd                      0.60   $125.00                 $75.00               2/7/2020   Deposition / 2004 Exam          Deposition
Guy Holman                      3.40   $205.00                $697.00               2/7/2020   Deposition / 2004 Exam          Work on deposition
                                                                                                                               Forward additional documents to Counsel for
Dian Gwinnup                    0.20   $125.00                 $25.00              2/12/2020   Litigation Activities           Rocky Mountain High Brands
Guy Holman                      0.20   $205.00                 $41.00              2/13/2020   Case Administration             Email to Client
Guy Holman                      4.80   $205.00                $984.00    $266.50   2/14/2020   Deposition / 2004 Exam          Deposition - 2004 Examine - 901 Main
Dian Gwinnup                    0.20   $125.00                 $25.00              2/20/2020   MOR & Other Operating Reports   File operating report for January 2020
                                                                                                                               Respond to inquiry regarding Grisaffi's alleged
Guy Holman                      0.10   $205.00                 $20.50              2/24/2020 Litigation Activities             failure to list causes of actions
                                                                                                                               Attend Client meeting regarding pending litigation
Joyce W. Lindauer               1.50   $395.00                $592.50              3/12/2020 Litigation Activities             matters
Joyce W. Lindauer               0.20   $395.00                 $79.00              3/12/2020 Litigation Activities             Email to Bill Sigel regarding remand
Joyce W. Lindauer               0.30   $395.00                $118.50              3/12/2020 Litigation Activities             Exchange emails with Bill Siegel
                                                                                                                               Response to RMHB Motion for Entry of Order
                                                                                                                               Directing Appointment of Chapter 11 Trustee or
Larry Boyd                      3.40   $125.00                $425.00              3/13/2020 Conversion                        Conversion to Chapter 7
Joyce W. Lindauer               0.30   $395.00                $118.50              3/13/2020 Litigation Activities             Work on entry of state court judgment
Joyce W. Lindauer               0.20   $395.00                 $79.00              3/16/2020 Case Administration               Work on bankruptcy deadlines.
                                                                                                                               Response to RMHB Motion for Entry of Order
                                                                                                                               Directing Appointment of Chapter 11 Trustee of
Larry Boyd                      8.90   $125.00               $1,112.50   $550.00   3/16/2020 Conversion                        Conversion to Chapter 7.
                                                                                                                               Work on pending matters in state court and
Joyce W. Lindauer               0.50   $395.00                $197.50              3/16/2020 Litigation Activities             bankruptcy court.
                                                                                                                               Finalize and file objection to motion for
                                                                                                                               appointment of a Trustee or to convert to
Dian Gwinnup                    0.30   $125.00                 $37.50              3/17/2020 Conversion                        Chapter 7




Attorney Fee Application Data and Summaries
                                                                                                                                                                       Page 6 of 10
                                Case 19-33855-sgj7 Doc 92 Filed 05/20/20     Entered 05/20/20 11:03:10                    Page 16 of 19


                                                                                                                                Response to RMHB Motion for Entry of Order
                                                                                                                                Directing Appointment of Chapter 11 Trustee of
Larry Boyd                      4.20   $125.00                $525.00              3/17/2020 Conversion                         Conversion to Chapter 7

Joyce W. Lindauer               1.20   $395.00                $474.00              3/17/2020 Conversion                      Work on response to motion to appoint trustee.
                                                                                                                             Finalize and file motion to dismiss adversary
Dian Gwinnup                    0.30   $125.00                  $37.50             3/17/2020   Dismissal (adversary)         proceeding
Guy Holman                      5.40   $205.00               $1,107.00   $594.50   3/17/2020   Dismissal (adversary)         Draft Motion to Dismiss.
                                                                                                                             Rocky Mountain Adversary: Review docket for
                                                                                                                             date client was served and calendar answer
Dian Gwinnup                    0.20   $125.00                 $25.00              3/17/2020   Litigation Activities         deadline
                                                                                                                             Prepare motion to extend exclusivity and order
Dian Gwinnup                    0.40   $125.00                 $50.00              3/17/2020   Litigation Activities         granting same
Joyce W. Lindauer               0.50   $395.00                $197.50              3/17/2020   Litigation Activities         Work on motion to dismiss adversary case.
Joyce W. Lindauer               0.30   $395.00                $118.50              3/17/2020   Plan and Disclosure Statement Work on plan.
                                                                                                                             Work on motion to set hearing by phone and
Joyce W. Lindauer               0.30   $395.00                $118.50              3/18/2020   Case Administration           declarations.
                                                                                                                             Finalize, file and serve objection to proof of claim
Dian Gwinnup                    0.70   $125.00                 $87.50              3/18/2020   Claim Issues and Objections   filed by Rocky Mountain High Brands
Guy Holman                      4.20   $205.00                $861.00    $451.00   3/18/2020   Claim Issues and Objections   Work on Proof of Claim Objection Draft Order
                                                                                                                             Finalize and file objection to supplement to
                                                                                                                             motion to appoint a trustee or convert case to
Dian Gwinnup                    0.30   $125.00                 $37.50              3/18/2020   Conversion                    Chapter 7
                                                                                                                             Rssp and Objection to Support to RMHB Motion
Larry Boyd                      2.90   $125.00                $362.50              3/18/2020   Conversion                    to Convert or Appoint Trustee
                                                                                                                             Work on response to motion to appoint or
Joyce W. Lindauer               1.00   $395.00                $395.00              3/18/2020   Conversion                    convert.
Dave Lindauer                   0.30    $95.00                 $28.50              3/18/2020   Creditors Meeting             Prepare chart of creditors
                                                                                                                             Emails with Court regarding hearing on Motion to
                                                                                                                             Dismiss adversary case (0.2); prepare and file
Dian Gwinnup                    0.50   $125.00                 $62.50              3/18/2020   Dismissal (adversary)         notice of hearing regarding same (0.3)
                                                                                                                             Revise and file Plan and Disclosure Statement
Dian Gwinnup                    1.50   $125.00                 $187.50             3/18/2020   Plan and Disclosure Statement and forward courtesy copies of same to Court
Joyce W. Lindauer               4.50   $395.00               $1,777.50   $987.50   3/18/2020   Plan and Disclosure Statement Work on plan and disclosure statement.
                                                                                                                             Rocky Mountain Adversary: Work on Objection
Dian Gwinnup                    0.40   $125.00                 $50.00              3/19/2020   Litigation Activities         to Plaintiff's election of remedies
                                                                                                                             Objection to Revised Election of Remedies
Larry Boyd                      0.60   $125.00                 $75.00              3/19/2020   Litigation Activities         Motion
Joyce W. Lindauer               0.30   $395.00                $118.50              3/19/2020   Litigation Activities         Work on objection in state court.
                                                                                                                             Email to Client regarding status of operating
Dian Gwinnup                    0.10   $125.00                 $12.50              3/20/2020   MOR & Other Operating Reports report
Guy Holman                      1.70   $205.00                $348.50              3/23/2020   Case Administration           Work on Rule 7026 research
                                                                                                                             Work on declarations for conversion to Chapter 7
Joyce W. Lindauer               0.20   $395.00                 $79.00              3/23/2020   Conversion                    or appointment of trustee.
Joyce W. Lindauer               0.30   $395.00                $118.50              3/23/2020   Litigation Activities         Work on disclosures and scheduling order.
Joyce W. Lindauer               0.30   $395.00                $118.50              3/23/2020   Litigation Activities         Work on adversary suit.
                                                                                                                             Review operating report and email to Client
Dian Gwinnup                    0.20   $125.00                 $25.00              3/23/2020   MOR & Other Operating Reports regarding missing pages
Joyce W. Lindauer               0.30   $395.00                $118.50              3/24/2020   Case Administration           Review continuance.

Dian Gwinnup                    0.30   $125.00                 $37.50              3/24/2020 Litigation Activities              Finalize and file motion to continue trial setting
                                                                                                                                Pre-trial conference with opposing counsel;
Guy Holman                      2.90   $205.00                $594.50              3/24/2020 Litigation Activities              Review revised pre-trial proposed order
                                                                                                                                Attend conference call regarding pending matters
Joyce W. Lindauer               0.50   $395.00                $197.50              3/24/2020 Litigation Activities              and Rule 26 disclosures.



Attorney Fee Application Data and Summaries
                                                                                                                                                                        Page 7 of 10
                                Case 19-33855-sgj7 Doc 92 Filed 05/20/20    Entered 05/20/20 11:03:10                    Page 17 of 19


Joyce W. Lindauer               0.20   $395.00                 $79.00             3/25/2020   Case Administration           Work on scheduling order and deadlines.
Joyce W. Lindauer               0.30   $395.00                $118.50             3/25/2020   Case Administration           Work on trial date.
Joyce W. Lindauer               0.20   $395.00                 $79.00             3/25/2020   Case Administration           Work on continued scheduling order.
Dian Gwinnup                    0.20   $125.00                 $25.00             3/25/2020   MOR & Other Operating Reports File operating report for February 2020
Joyce W. Lindauer               0.30   $395.00                $118.50             3/26/2020   Case Administration           Work on trial scheduling.
                                                                                                                            Work on pending matters regarding motion to
Joyce W. Lindauer               0.30   $395.00                $118.50             3/26/2020   Conversion                    convert.
                                                                                                                            Draft Declaration in search of Objection and
                                                                                                                            Response to Motion Appoint Trustee or to
Larry Boyd                      3.50   $125.00                $437.50   $187.50   3/27/2020   Conversion                    Convert.
                                                                                                                            Review Court's docket and calendar regarding
Dian Gwinnup                    0.40   $125.00                 $50.00             3/27/2020   MOR & Other Operating Reports status conference on April 3
                                                                                                                            Review remand order for non-compliance with
Guy Holman                      2.70   $205.00                $553.50             3/30/2020   Case Administration           COA
Joyce W. Lindauer               0.20   $395.00                 $79.00             3/30/2020   Case Administration           Call with Blake Norvell re: mandamus, etc.
                                                                                                                            Complete Declaration in search of Objection
Larry Boyd                      3.70   $125.00                $462.50   $212.50   3/30/2020   Conversion                    and Response to Motion Appoint /Convert.
                                                                                                                            Revise Declaration in search of Objection and
                                                                                                                            Response to Motion to Appoint /Convert with
                                                                                                                            Joyce Lindauer inputs; telcon with Client
Larry Boyd                      3.20   $125.00                $400.00   $150.00   3/30/2020   Conversion                    regarding needed documentation
                                                                                                                            Work on filing in state court (.2) and state court
Joyce W. Lindauer               0.50   $395.00                $197.50             3/30/2020   Litigation Activities         response regarding appeal (.3).
Joyce W. Lindauer               0.30   $395.00                $118.50             3/30/2020   Litigation Activities         Work on pending matters.
Joyce W. Lindauer               1.30   $395.00                $513.50             3/30/2020   Litigation Activities         Work on declaration and pending litigation.
Joyce W. Lindauer               1.20   $395.00                $474.00             3/30/2020   Litigation Activities         Continued work on declaration for court.
Joyce W. Lindauer               0.30   $395.00                $118.50             3/30/2020   Litigation Activities         Work on state court lawsuit.
Joyce W. Lindauer               0.30   $395.00                $118.50             3/30/2020   Petition - Initial Filing     Work on bankruptcy filings.
                                                                                                                            Rocky Mountain Adversary: Finalize and submit
                                                                                                                            proposed order continuing trial setting for entry
Dian Gwinnup                    0.20   $125.00                 $25.00             3/31/2020   Case Administration           by Court
Joyce W. Lindauer               0.30   $395.00                $118.50             3/31/2020   Case Administration           Work on scheduling order.
Joyce W. Lindauer               0.30   $395.00                $118.50             3/31/2020   Litigation Activities         Work on pleadings in state court.
Joyce W. Lindauer               0.30   $395.00                $118.50             3/31/2020   Litigation Activities         Work on state court documents.
                                                                                                                            Work on declaration due today for Trustee
Joyce W. Lindauer               0.50   $395.00                $197.50              4/1/2020   Case Administration           request.
Joyce W. Lindauer               0.30   $395.00                $118.50              4/2/2020   Case Administration           Work on scheduling order.
                                                                                                                            Rocky Mountain State Court Lawsuit: Finalize
                                                                                                                            and file Motion to Clarify Judgment as to Jerry
Dian Gwinnup                    0.50   $125.00                 $62.50              4/2/2020   Conversion                    Grisaffi
                                                                                                                            Rocky Mountain Adversary: Revise order
Dian Gwinnup                    0.30   $125.00                 $37.50              4/2/2020   Conversion                    continuing trial and submit to Court for entry
Joyce W. Lindauer               0.20   $395.00                 $79.00              4/2/2020   Status Conference / Report    Work on status hearing.
Joyce W. Lindauer               1.00   $395.00                $395.00              4/3/2020   Litigation Activities         Attend court hearing in state court.
                                                                                                                            Rocky Mountain State Court Lawsuit: Telephone
                                                                                                                            conversation with Clerk at the 5th Court of
                                                                                                                            Appeals regarding obtaining transcript of
Dian Gwinnup                    0.30   $125.00                 $37.50              4/7/2020   Appeal / Reconsideration      November 6, 2019 oral argument
                                                                                                                            Review oral arguments for court of appeals in
Joyce W. Lindauer               1.00   $395.00                $395.00              4/7/2020   Appeal / Reconsideration      Dallas.
Joyce W. Lindauer               1.00   $395.00                $395.00              4/7/2020   Litigation Activities         Review and work on stipulated facts.
Joyce W. Lindauer               0.30   $395.00                $118.50              4/7/2020   Litigation Activities         Work on judgment.
Joyce W. Lindauer               0.30   $395.00                $118.50              4/7/2020   Litigation Activities         Work on revising judgments.




Attorney Fee Application Data and Summaries
                                                                                                                                                                    Page 8 of 10
                                Case 19-33855-sgj7 Doc 92 Filed 05/20/20   Entered 05/20/20 11:03:10                 Page 18 of 19


                                                                                                                          Email with Court regarding Disclosure Statement
                                                                                                                          hearing date, prepare and submit for entry the
                                                                                                                          order and notice of hearing on same (0.3);
                                                                                                                          prepare service list for Disclosure Statement
Dian Gwinnup                    0.60   $125.00                 $75.00            4/7/2020 Plan and Disclosure Statement   hearing (0.3)
                                                                                                                          Rocky Mountain Appeal: Email to Court
                                                                                                                          Reporter with audio file of November 6, 2019
Dian Gwinnup                    0.30   $125.00                 $37.50            4/8/2020 Appeal / Reconsideration        hearing and transcription needed
Joyce W. Lindauer               0.50   $395.00                $197.50            4/8/2020 Litigation Activities           Work on statement of facts and judgments.
                                                                                                                          Work on reply filed by counsel for Rocky
Joyce W. Lindauer               0.40   $395.00                $158.00            4/8/2020 Litigation Activities           Mountain High.
Joyce W. Lindauer               1.50   $395.00                $592.50            4/8/2020 Litigation Activities           Work on motion to enter judgment.
                                                                                                                          Prepare and file Notice of Hearing on Disclosure
                                                                                                                          Statement (0.3); serve plan, Disclosure
                                                                                                                          Statement, order setting hearing and Notice of
Dian Gwinnup                    0.70   $125.00                 $87.50            4/8/2020 Plan and Disclosure Statement   Hearing (0.4)
                                                                                                                          Rocky Mountain High Adversary: Gather exhibits
                                                                                                                          for April 13 hearing (0.2); arrange telephonic
Dian Gwinnup                    0.40   $125.00                 $50.00            4/9/2020 Litigation Activities           appearance at same (0.2)
                                                                                                                          Work on pleadings in state court, judgment and
Joyce W. Lindauer               1.00   $395.00                $395.00            4/9/2020 Litigation Activities           record.
                                                                                                                          Rocky Mountain High Adversary: Review
Dian Gwinnup                    0.20   $125.00                 $25.00            4/9/2020 Plan and Disclosure Statement   scheduling order and update calendar
Joyce W. Lindauer               0.50   $395.00                $197.50           4/10/2020 Case Administration             Work on bankruptcy hearing.
                                                                                                                          Finalize and file declaration in support of
                                                                                                                          objection to Motion to Appoint Trustee or convert
Dian Gwinnup                    0.30   $125.00                 $37.50           4/10/2020 Conversion                      case to Chapter 7
                                                                                                                          Rocky Mountain High Adversary: File motion to
Dian Gwinnup                    0.20   $125.00                 $25.00           4/10/2020 Litigation Activities           enter judgment
Joyce W. Lindauer               0.50   $395.00                $197.50           4/10/2020 Litigation Activities           Work on state court pleadings.
Joyce W. Lindauer               0.50   $395.00                $197.50           4/11/2020 Case Administration             Work on Rule 26 disclosures.
                                                                                                                          State Court Lawsuit: Work on and file letter to
Dian Gwinnup                    0.80   $125.00                $100.00           4/11/2020 Conversion                      Judge Smith
Joyce W. Lindauer               0.30   $395.00                $118.50           4/11/2020 Litigation Activities           Work on motion to enter judgment.
                                                                                                                          Rocky Mountain High Adversary: Work on initial
Dian Gwinnup                    0.70   $125.00                 $87.50           4/11/2020 Plan and Disclosure Statement   Disclosures
Joyce W. Lindauer               1.50   $395.00                $592.50           4/12/2020 Conversion                      Prepare for hearing on April 13th.
                                                                                                                          Rocky Mountain High Adversary: Finalize and
Dian Gwinnup                    0.20   $125.00                 $25.00           4/12/2020 Plan and Disclosure Statement   serve initial Disclosures
                                                                                                                          Prepare for hearing on motion to convert or
Joyce W. Lindauer               0.50   $395.00                $197.50           4/13/2020 Conversion                      appoint trustee.
                                                                                                                          Attend hearing in bankruptcy court over Court
Joyce W. Lindauer               2.30   $395.00                $908.50           4/13/2020 Conversion                      Call.
                                                                                                                          Rocky Mountain High Adversary: Revise and
Dian Gwinnup                    0.20   $125.00                 $25.00           4/13/2020 Plan and Disclosure Statement   serve initial Disclosure
                                                                                                                          State Court Lawsuit: Refile letter to Judge Smith
Dian Gwinnup                    0.20   $125.00                 $25.00           4/13/2020 Plan and Disclosure Statement   at Court's direction
                                                                                                                          Reviewed Conversion Order IRT evidence on
Larry Boyd                      2.20   $125.00                $275.00           4/14/2020 Conversion                      record to support
                                                                                                                          Rocky Mountain High Brands District Court:
                                                                                                                          Telephone conversation with Court to schedule
                                                                                                                          hearing on Motion to Enter Final Judgement,
Dian Gwinnup                    1.00   $125.00                $125.00           4/14/2020 Litigation Activities           prepare and file Notice of Hearing on same
                                                                                                                          Call regarding fraud on court in Rocky Mountain
Joyce W. Lindauer               0.20   $395.00                 $79.00           4/14/2020 Litigation Activities           case.



Attorney Fee Application Data and Summaries
                                                                                                                                                                 Page 9 of 10
                                Case 19-33855-sgj7 Doc 92 Filed 05/20/20          Entered 05/20/20 11:03:10                  Page 19 of 19


                                                                                                                                   Rocky Mountain High Brands District Court:
                                                                                                                                   Email to Court Report regarding corrections
Dian Gwinnup                    0.20   $125.00                  $25.00                 4/14/2020 Plan and Disclosure Statement     needed to transcript of 11/6/2019 hearing

                                                                                                                                   Prepare and file certificate of service of
                                                                                                                                   disclosure statement hearing (.3); prepare and
                                                                                                                                   file withdrawal of plan and disclosure statement
Dian Gwinnup                    0.60   $125.00                  $75.00                 4/16/2020   Plan and Disclosure Statement   following conversion of case to Chapter 7 (.3).
Joyce W. Lindauer               0.30   $395.00                 $118.50                 4/16/2020   Schedules & SoFA                Work on amending schedules.
Dave Lindauer                   0.40    $95.00                  $38.00                 4/29/2020   Case Administration             Compile data for fee exhibit
Dave Lindauer                   0.20    $95.00                  $19.00                  5/4/2020   Case Administration             Prepare Northern District Cover Sheet
Dave Lindauer                   1.50    $95.00                 $142.50                  5/4/2020   Case Administration             Prepare fee exhibit A
Dian Gwinnup                    0.60   $125.00                  $75.00                  5/5/2020   Case Administration             Draft fee motion and related documents
Joyce W. Lindauer               0.30   $395.00                 $118.50                  5/6/2020   Case Administration             Review and revise draft fee application
                                                                                                                                   Finalize, file and serve fee application and
Dian Gwinnup                   0.70    $125.00                   $87.50                 5/6/2020 Case Administration               related documents
Subtotal - Time                183.2                        $ 38,998.00   $ 5,665.00




Attorney Fee Application Data and Summaries
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